         Case 3:25-cv-01145-JAG              Document 1-5          Filed 03/12/25        Page 1 of 3


                                UNITED STATES DEPARTMENT OF AGRICULTURE
                                          FARM SERVICE AGENCY
                                                       654 Muñoz Rivera Avenue
                                                         654 Plaza Suite #829
                                                         San Juan, PR 00918


Borrower:          GONZALEZ RIVERA, CARLOS ALBERTO Case No: 63-015-XXXXX0072

                                          CERTIFICATION OF INDEBTEDNESS

I, Edgar Maldonado Medero, of legal age, married, a resident of Toa Alta, Puerto Rico, in my official capacity as
Farm Loan Chief of the Farm Service Agency , United States Department of Agriculture (USDA), state that:

Ɣ7KHERUURZHU¶VLQGHEWHGQHVVLVDVVKRZQLQWKHIROORZLQJ6WDWHPHQWRI$FFRXQWDFFRUGLQJ
WRLQIRUPDWLRQREWDLQHGIURPDOODYDLODEOHUHFRUGVDWWKH86'$)DUP6HUYLFH$JHQF\
                                                        Statement of Account

                                                          As of 03/31/2025
                              /RDQ1XPEHU                               44-03
                              Note Amount                        $          5,000.00
                              Date of Last Payment                    3/10/2014
                              Principal Balance                  $          2,767.11
                              Unpaid Interest                    $          1,518.50
                              Misc. Charges
                              Total Balance                       $           4,285.61
                              Daily Interest Accrual              $             0.2653
                              Amount Delinquent                   $           3,455.36
                              Years Delinquent                        Fully Matured

Ɣ7KHLQIRUPDWLRQLQWKHDERYH6WDWHPHQWRI$FFRXQWLQDIILDQW¶VRSLQLRQLVDWUXHDQGFRUUHFWVWDWHPHQW
     of the aforementioned account and to this date remains due and unpaid.

Ɣ7KHGHIHQGDQWLVQHLWKHUDPLQRUQRULQFRPSHWHQWQRULQWKHPLOLWDU\VHUYLFHRIWKH
     United States of America.

Ɣ7KHDERYHLQIRUPDWLRQLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGLVPDGHXQGHU
SHQDOW\RISHUMXU\DVDOORZHGE\86&

                   Digitally signed by
                   EDGAR MALDONADO
Edgar Maldonado    Date: 2025.03.07
                   07:51:01 -04'00'
Edgar Maldonado
Farm Loan Chief
March 7, 2025
         Case 3:25-cv-01145-JAG              Document 1-5          Filed 03/12/25        Page 2 of 3


                                UNITED STATES DEPARTMENT OF AGRICULTURE
                                          FARM SERVICE AGENCY
                                                       654 Muñoz Rivera Avenue
                                                         654 Plaza Suite #829
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Borrower:          GONZALEZ RIVERA, CARLOS ALBERTO Case No: 63-015-XXXXX0072

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WRLQIRUPDWLRQREWDLQHGIURPDOODYDLODEOHUHFRUGVDWWKH86'$)DUP6HUYLFH$JHQF\
                                                        Statement of Account

                                                          As of 03/31/2025
                              /RDQ1XPEHU                               43-04
                              Note Amount                        $         97,000.00
                              Date of Last Payment                    3/10/2014
                              Principal Balance                  $       101,929.63
                              Unpaid Interest                    $         63,058.73
                              Misc. Charges
                              Total Balance                       $        164,988.36
                              Daily Interest Accrual              $           10.4722
                              Amount Delinquent                   $        135,058.75
                              Years Delinquent                             19

Ɣ7KHLQIRUPDWLRQLQWKHDERYH6WDWHPHQWRI$FFRXQWLQDIILDQW¶VRSLQLRQLVDWUXHDQGFRUUHFWVWDWHPHQW
     of the aforementioned account and to this date remains due and unpaid.

Ɣ7KHGHIHQGDQWLVQHLWKHUDPLQRUQRULQFRPSHWHQWQRULQWKHPLOLWDU\VHUYLFHRIWKH
     United States of America.

Ɣ7KHDERYHLQIRUPDWLRQLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGLVPDGHXQGHU
SHQDOW\RISHUMXU\DVDOORZHGE\86&

                   Digitally signed by
                   EDGAR MALDONADO
Edgar Maldonado    Date: 2025.03.07
                   07:50:10 -04'00'
Edgar Maldonado
Farm Loan Chief
March 7, 2025
         Case 3:25-cv-01145-JAG              Document 1-5          Filed 03/12/25        Page 3 of 3


                                UNITED STATES DEPARTMENT OF AGRICULTURE
                                          FARM SERVICE AGENCY
                                                       654 Muñoz Rivera Avenue
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                                                         San Juan, PR 00918


Borrower:          GONZALEZ RIVERA, CARLOS ALBERTO Case No: 63-015-XXXXX0072

                                          CERTIFICATION OF INDEBTEDNESS

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WRLQIRUPDWLRQREWDLQHGIURPDOODYDLODEOHUHFRUGVDWWKH86'$)DUP6HUYLFH$JHQF\
                                                        Statement of Account

                                                          As of 03/31/2025
                              /RDQ1XPEHU                               43-99
                              Note Amount
                              Date of Last Payment                       NONE
                              Principal Balance                   $          850.00
                              Unpaid Interest                     $          153.96
                              Misc. Charges
                              Total Balance                       $           1,003.96
                              Daily Interest Accrual              $             0.0873
                              Amount Delinquent                   $             850.00
                              Years Delinquent                        Fully Matured

Ɣ7KHLQIRUPDWLRQLQWKHDERYH6WDWHPHQWRI$FFRXQWLQDIILDQW¶VRSLQLRQLVDWUXHDQGFRUUHFWVWDWHPHQW
     of the aforementioned account and to this date remains due and unpaid.

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     United States of America.

Ɣ7KHDERYHLQIRUPDWLRQLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHIDQGLVPDGHXQGHU
SHQDOW\RISHUMXU\DVDOORZHGE\86&

                  Digitally signed by
                  EDGAR MALDONADO
Edgar Maldonado   Date: 2025.03.07
                  07:50:35 -04'00'

Edgar Maldonado
Farm Loan Chief
March 7, 2025
